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                           EXHIBIT E
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                                                                                  Garden City Center
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MELISSA MANNA
ASSOCIATE
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        November 21, 2019

        Subin Associates, LLP
        Attn: Maria C. Zieher, Esq.
        150 Broadway, 23rd Floor
        New York, New York 10038

                Re:     Hadmira C. Leacock v. Speedway LLC
                        D/Loss       :     6/5/18
                        Our File No. :     23005-26

        Dear Ms. Zieher:

        Please mark your file to reflect that Cullen and Dykman LLP has taken over the defense of
        Speedway, LLC. Our consent to change attorneys was filed back on October 9, 2019, and this
        office appeared at the Preliminary Conference, however mail is apparently still going to the prior
        firm.

        Please be advised that we are in receipt of your supplemental bill of particulars, however
        numerous deficiencies remain. Please provide complete and proper responses as to where the
        alleged accident occurred.

        Additionally, we have still not received duly executed HIPAA compliant authorizations made
        out Cullen and Dykman LLP, for all of your client’s treatment providers, including radiological
        records, collateral source, FDNY ambulance/pre-hospital care reports, and authorizations to
        obtain your client’s IRS tax returns in light of the lost earnings claim and the allegation that your
        client is self-employed.

        Finally, we have still not received a response to our demand for Ad Damnum. The demand for ad
        damnum is proper under CPLR 3017 (c) and must be responded to within 15 days. As such, your
        response to same is overdue.
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Please accept the foregoing as ever good faith attempt to obtain proper and complete responses
to our discovery demands without the necessity of motion practice. Please provide responses to
the demands within the next 10 business days.

Thank you for your prompt attention to the foregoing.



Very truly yours,


MELISSA MANNA
